CaS€ 4207-CV-OO703-Y

  

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DATE! 2/11/19

FROMZ Cindy Hodges

INMATE NAME! Billy Jack Crutsinger

PAGES: Q

 

[\/I/NEW EXECUTION LlST [\/]/ORDER SETTING EXECUTION
[ ] STAY OF EXECUTION [ ] OTHER:
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FiLED
THQMS A WILDER, DlST. CLERK
TAHRANT COUNTY, TEXAS
FEB 0 6 2019
CAU E NO. 08853061) ' -
S ““_E:_%___
SY DEFUTY
THE S'I`ATE OF TEXAS § IN THE 213th JUDICIAL
§
VS. § DISTRICT COURT OF
§
BILLY JACK CRUTSINGER § TARRANT COUNTY, 'I`EXAS
§

ORDER SETTING EXECUTION DATE

The Court has reviewed the State’s Motion for Court to Enter Order Setting Execution
Date filed on May 16, 2018, and finds that the motion should be GRANTED and a date of
execution be set in this case.

The Defendant was convicted of capital murder on September 25, 2003, for
intentionally causing the deaths of Patricia Syren and Pearl Magouirk during the same
criminal transaction. After the jury returned an affn'mative answer to the future
dangerousness special issue and a negative answer to the mitigation special issue, this Court
sentenced the Defendant to death by lethal injection on October 1, 2003.

The Court of Criminal Appeals of Texas affirmed the Defendant’s conviction and
death sentence on direct appeal on May 10, 2006, and the Supreme Court of the United States
denied his petition for a Writ of certiorari on December l 1, 2006. See Crutsinger v. State, 206
S.W.3d 607 (Tex. Crim. App. 2006), cert denied, 549 U.S. 1098, 127 S.Ct. 836, 166 L.Ed.2d
670 (2006). The Court of Crirninal Appeals of Texas denied the Defendant’ s state application

for writ of habeas corpus on November 7, 2007. See Ex parte Crutsinger, 2007 WL 3277524

BILLY JACK CRUTS!NGER, CAUSE NO. 0885306D - ORDER SETTING EXECUTION DATE, Page l of 4

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(Tex. Crim. App. 2007) (unpublished).

The United States District Court for the Northem District of Texas, Fort Worth
Division, denied the Det`endant’s petition for writ of habeas corpus on February 6, 2012. See
Crutsinger v. Thaler, 2012 WL 369927 (N.D. Tex. 2012) (unpublished). The United States
Court of Appeals for the Fifth Circuit denied the Defendant’s certificate of appealability on
August 4, 2014. See Crutsinger v. Stephens, 576 Fed. Appx. 422 (5th Cir. 2014) (opinion on
rehearing). The Supreme Court of the United States denied the Defendant’s petition for writ
of certiorari on February 23, 2015. See Crutsinger v. Stephens, __ U.S. _, 135 S.Ct.
1401, 191 L.Ed.2d 373 (2015).

IT IS THEREFORE EVIDENT that Defendant has exhausted his avenues for relief
through the state and federal courts, and further there are no stays of execution in effect in
this case.

ACCORDINGLY, IT IS HEREBY ORDERED that the Defendant, Billy Jack
Crutsinger, who has been adjudged to be guilty of capital murder as charged in the indictment
and whose punishment has been assessed by the verdict of the jury and judgment of the Court
at DEATH, shall be kept or taken into the custody of the Director of the Correctional
Institutions Division of the Texas Department of Criminal Justice until the 4"l day of
September 2019, upon which day, at the Correctional Institutions Division of the Texas
Department of Criminal Justice, at some time after the hour of six o’clock p.m., in a room

designated by the Correctional Institutions Division of the Texas Department of Criminal

BILLY JACK CRUTSINGER, CAUSE NO. 0885306|) - ORDER SETT[NG EXECUTION DATE, Page 2 of 4

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Justice and arranged for the purpose of execution, the said Director, acting by and through
the executioner designated by said Director, as provided by law, is hereby commanded,
ordered and directed to carry out this sentence of death by intravenous injection of a
substance or substances in a lethal quantity sufficient to cause the death of the Defendant,
Billy Jack Crutsinger, until Billy Jack Crutsinger is dead. Such procedure shall be
determined and supervised by the said Director of the Correctional Institutions Division of
the Texas Department of Criminal Justice.

IT IS FURTHER ORDERED that the Clerk of this Court shall issue and deliver to
the Sheriff of Tarrant County, Texas, a Death Warrant in accordance With this sentence
and Order, directed to the Director of the Correctional Institutions Division of the Texas
Department of Criminal Justice, at Huntsville, Texas, commanding the said Director, to put
into execution the Judgment of Death against the said Billy Jack Crutsinger.

The SheriH` of Tarrant County, Texas IS HEREBY ORDERED, upon receipt of
said Death Warrant, to deliver said Warrant to the Director of the Correctional Institutions
Division of the Texas Department of Criminal Justice, Huntsville, Texas together with
Defendant, Billy Jack Crutsinger.

IT IS FURTHER ORDERED that the Clerk of this Court shall deliver a copy of
this order to: (1) the Defendant’s most recent attorney of record, Ms. Lydia Brandt, P.O. Box
326, Farmersville, Texas 75442-0326 (lydiabrandt$66@gmail.com); (2) Benjamin Wolff,

Director, Oft`xce of Capital and Forensic Writs, Stephen F. Austin Building, 1700 N.

BlLLY JACK CRUTSINGER. CAUSE NO. 08853060 - ORDER SETTING EXECUTlON DATE, Page 3 of 4

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Congress Ave., Suite 460, Austin, Texas, 78701 (Benjamin.Wolff@ocfw.texas.gov); and (3)
Ms. Gwen Vindell, Assistant Attorney General, Oftice of the Attorney General of Texas,

P.O. Box 12548, Austin, Texas, 78711-2548 (Gwendolyn.Vindell2@oag.texas.gov).

W-
SIGNED this g day of February 2019.

/»-»L--

cHR‘Is woLFE, JUDGE
213"' JUDICIAL Drs'rmcr coURT
TARRANT coUNTY, TEXAS

BILLY .IACK CRUTSINGER, CAUSE NO. 0885306D - ORDER SETTING EXECUT[ON DATE, Page 4 of 4

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Texas Attorney General's Offlce
Criminal Appeals Division
Interoffice Memorandum

 

 

 

 

 

 

 

 

Tof The Criminal Appeals Division

From! Cindy Hodges

Date! February 11, 2019

Subject¢ Execution List

INMATE DATE COUNTY ASST. AG FEDERAL DISTRICT
COURT

Billie Wayne COble 02/28/ 19 MCLENNAN VINDELL WD/Waco
Patrick Henry Murphy, Jr. 03/28/ 19 DALLAS VINDELL ND/Dallas
Mark RObeI'tSOn 04/11/19 DALLAS VINDELL ND/Dallas
JOhIl William King 04/24/ 19 JASPER HAYES ED/Beaumont
Dexter Darnell Johnson 05/02/ 19 HARRIS STEWART~KLEIN SD/Houston
Billy Jack Crutsinger 09/04/ 19 TARRANT VINDELL ND/Fort Worth

 

 

 

 

 

 

